Case 3:16-md-02738-MAS-RLS   Document 32808-1    Filed 06/11/24   Page 1 of 5
                             PageID: 186526




             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 No. 3:16-md-02738-MAS-RLS
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




     DECLARATION OF MATTHEW L. BUSH IN SUPPORT OF
   DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO COMPEL
     INSPECTION OF DR. WILLIAM LONGO’S LABORATORY




                                   0
Case 3:16-md-02738-MAS-RLS         Document 32808-1      Filed 06/11/24   Page 2 of 5
                                   PageID: 186527



I, Matthew L. Bush, declare as follows:

      I am an attorney of the state of New York and a partner with the law firm King

& Spalding LLP, counsel for Defendants Johnson & Johnson and LLT Management

LLC (hereafter, “Defendants”) in the above-captioned matter. The facts stated in this

Declaration are true of my own personal knowledge. I submit this Declaration in

support of Defendants’ Reply in Support of Motion to Compel Inspection of Dr.

William Longo’s Laboratory.

      1.     Attached hereto as Exhibit AB is a true and correct copy of the Order

on Paul Hess and Material Analytical Services, LLC’s Motion to Quash Subpoena

and for Protective Order, in Hess et al. v. Am. Int’l Indus. Et al., No. 1:24-cv-02195,

ECF No. 7 (N.D. Ga.).

      2.     Attached hereto as Exhibit AC is a true and correct copy of Dr. William

Longo’s Second Supplemental Report dated February 1, 2019, issued in the above-

captioned case.

      3.     Attached hereto as Exhibit AD is a true and correct copy of the

transcript of Day 1 of the Rule 104 hearing regarding Dr. William Longo on May

29, 2024, in Clark et al. v. Johnson & Johnson, et al., No. MID-L-003809-18AS

(N.J. Super. Ct., Middlesex Cnty.).

      4.     Attached hereto as Exhibit AE is a true and correct copy of the

transcript of Day 2 of the Rule 104 hearing regarding Dr. William Longo on May



                                          1
Case 3:16-md-02738-MAS-RLS        Document 32808-1     Filed 06/11/24   Page 3 of 5
                                  PageID: 186528



30, 2024, in Clark et al. v. Johnson & Johnson, et al., No. MID-L-003809-18AS

(N.J. Super. Ct., Middlesex Cnty.).

      5.     Attached hereto as Exhibit AF is a true and correct copy of Dr. William

Longo’s deposition on March 3, 2023, in Hernandez-Valadez v. Johnson & Johnson,

et al., No. 22CV012759 (Super. Ct. Ca., Alameda Cnty.).

      6.     Attached hereto as Exhibit AG is a true and correct copy of an excerpt

of Dr. William Longo’s deposition on May 16, 2023, in Streck v. Johnson &

Johnson, et al., No. 21-CI-06290 (Ky. Cir. Ct., Jefferson Cnty.).

      7.     Attached hereto as Exhibit AH is a true and correct copy of an excerpt

of Dr. Steven Compton’s deposition on September 14, 2017, in Herford et al. v.

AT&T Corp. et al., No. BC646315, JCCP Case No. 4674 (Super. Ct. Ca., L.A.

Cnty.).

      8.     Attached hereto as Exhibit AI is a true and correct copy of an excerpt

of Dr. Steven Compton’s deposition on February 28, 2020, in Zimmerman v.

Autozone Inc., et al., No. BC720153, JCCP Case No. 4674 (Super. Ct. Ca., L.A.

Cnty.).

      9.     Attached hereto as Exhibit AJ is a true and correct copy of an excerpt

of Dr. Steven Compton’s deposition on May 7, 2020, in Lopez et al. v. Brenntag

North America, Inc, et al., Case No. 2017-86022-ASB (Dist. Ct. Tex., Harris Cnty.).




                                         2
Case 3:16-md-02738-MAS-RLS       Document 32808-1      Filed 06/11/24   Page 4 of 5
                                 PageID: 186529



      10.    Attached hereto as Exhibit AK is a true and correct copy of a

demonstrative prepared by Defendants, which matches Dr. William Longo’s

deposition testimony on March 3, 2023, in Hernandez-Valadez v. Johnson &

Johnson, et al., No. 22CV012759 (Super. Ct. Ca., Alameda Cnty.), with the

corresponding image displayed on-screen.

      11.    Attached hereto as Exhibit AL is a true and correct copy of a February

2023 chart entitled “Summary of MAS testing results of talc from Italy, Vermont,

Montana, Brazil and China.”

      12.    Attached hereto as Exhibit AM is a true and correct copy of Dr.

Matthew Sanchez’s “Rebuttal of MAS Zimmerman Report” dated March 9, 2020,

issued in Zimmerman v. Autozone Inc., et al., No. BC720153, JCCP Case No. 4674

(Super. Ct. Ca., L.A. Cnty.).

      13.    Attached hereto as Exhibit AN is a true and correct copy of an excerpt

of Dr. William Longo’s deposition on April 2, 2024, in Clark v. Johnson & Johnson,

et al., No. MID-L-003809-18AS (N.J. Super. Ct., Middlesex Cnty.).

      14.    Attached hereto as Exhibit AO is a true and correct copy of Dr. Steven

Compton’s report entitled, “Investigation of Chanel/Brenntag Specialties Supra H

USP (Chinese) Talc Samples for Asbestos” dated September 24, 2020.




                                         3
Case 3:16-md-02738-MAS-RLS        Document 32808-1     Filed 06/11/24   Page 5 of 5
                                  PageID: 186530



      15.    Attached hereto as Exhibit AP is a true and correct copy of an excerpt

of trial proceedings from July 23, 2019, in Hayes v. Colgate-Palmolive Co., et al.,

No. 16-CI-03503 (Ky. Cir. Ct., Jefferson Cnty.).

      16.    Attached hereto as Exhibit AQ is a true and correct copy of an excerpt

of Dr. William Longo’s report entitled, “MAS Project # M71179 Chanel Supra H

Retains” dated October 8, 2020.

      17.    Attached hereto as Exhibit AR is a true and correct copy of an excerpt

of Dr. William Longo’s deposition on May 12, 2020, in Zimmerman v. Autozone

Inc., et al., No. BC720153, JCCP Case No. 4674 (Super. Ct. Ca., L.A. Cnty.).

      I certify under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



Dated: June 11, 2024




                                             MATTHEW L. BUSH




                                         4
